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                   UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
                         Civil Case No.: 22-cv-1397
__________________________________________________________________

Paul Michaud,

              Plaintiff,
                                               COMPLAINT WITH JURY
v.                                               TRIAL DEMANDED

SunTrust Banks Inc. n/k/a Truist Financial
Corporation,

           Defendant.
__________________________________________________________________

                                    INTRODUCTION

1.     Plaintiff Paul Michaud ("Michaud") pleads the following claims based on

violations of the Telephone Consumer Protection Act (TCPA), 47 U.S.C. § 227 et seq.

and violations of Minnesota Common Law, by SunTrust Banks Inc. n/k/a Truist Financial

Corporation (“SunTrust”).

2.     SunTrust harassed Michaud by repeatedly calling his cell phone using a

robodialer, an act strictly prohibited by the state and federal law.

                             JURISDICTION AND VENUE

3.     Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff seeks up to

$1,500 in damages for each telephone calls in violation of the TCPA.

4.     This Court has federal question subject matter jurisdiction under 28 U.S.C. § 1331,

as the action arises under the TCPA, a federal statute.

5.     Venue is proper in the United States District Court for the District of Minnesota



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pursuant to 28 U.S.C. §§ 1391(b) because Defendant, at all times herein mentioned, was

doing business in the State of Minnesota, and a substantial part of the events giving rise

to the claim occurred in this jurisdiction.

                                         PARTIES

6.      Plaintiff Michaud is, and at all times mentioned herein was, a resident of Hennepin

County, State of Minnesota. He is, and at all times mentioned herein was a “person” as

defined by 47 U.S.C. § 153 (39).

7.      Defendant SunTrust is a foreign corporation incorporated under the laws of the state

of North Carolina; is authorized to do business in the state of Minnesota; and has a principal

executive office located at 214 N. Tryon St., Charlotte, NC 28202. SunTrust and is a

“person” as defined by 47 U.S.C. § 153 (39). Plaintiff alleges that at all times relevant

herein SunTrust has conducted business in the state of Minnesota and within this judicial

district.

      THE TELEPHONE CONSUMER PROTECTION ACT OF 1991 (TCPA),

                                   47 U.S.C. §§ 227 et seq.

8.      In 1991, Congress enacted the Telephone Consumer Protection Act, 47 U.S.C. §

227 (TCPA),1 in response to a growing number of consumer complaints regarding

certain telemarketing practices.

9.      The TCPA regulates, among other things, the use of automated telephone

equipment, or “autodialers.” Specifically, the plain language of section 227(b)(1)(A)(iii)

1
  Telephone Consumer Protection Act of 1991, Pub. L. No. 102-243, 105 Stat.
2394 (1991), codified at 47 U.S.C. § 227 (TCPA). The TCPA amended Title II of
the Communications Act of 1934, 47 U.S.C. §§ 201 et seq

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prohibits the use of autodialers to make any call to a wireless number in the absence of an

emergency or the prior express consent of the called party. 2

10.    According to findings by the Federal Communication Commission (“FCC”), the

agency Congress vested with authority to issue regulations implementing the TCPA, such

calls are prohibited because, as Congress found, automated or prerecorded telephone calls

are a greater nuisance and invasion of privacy than live solicitation calls, and such calls

can be costly and inconvenient. The FCC also recognized that wireless customers are

charged for incoming calls whether they pay in advance or after the minutes are used. 3

11.    Under the TCPA and pursuant to the FCC’s January 2008 Declaratory Ruling, the

burden is on Defendant to demonstrate that Plaintiff provided express consent within the

meaning of the statute.

12.    A text message is a call under the TCPA. Satterfield v. Simon & Schuster, Inc.,

569 F.3d 946, 955 (9th Cir. 2009).

       In the 9th Circuit case of Marks v Crunch San Diego, LLC the Court held:

       The U.S. Court of Appeals for the Ninth Circuit rejects the argument that a device
       cannot qualify as an automatic telephone dialing system unless it is fully
       automatic, meaning that it must operate without any human intervention
       whatsoever. By referring to the relevant device as an "automatic telephone dialing
       system," Congress made clear that it was targeting equipment that could engage in
       automatic dialing, rather than equipment that operated without any human
       oversight or control. 47 U.S.C.S. § 227(a)(1).

Marks v. Crunch San Diego, LLC, No. 14-56834, 2018 U.S. App. LEXIS 26883, at *1

(9th Cir. 2018).

2
 47 U.S.C. § 227(b)(1)(A)(iii).
3
 Rules and Regulations Implementing the Telephone Consumer Protection Act of
1991, CG Docket No. 02-278, Report and Order, 18 FCC Rcd 14014 (2003).

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13.     As more Americans began carrying cellular telephones in the 1990s, Congress

sought to limit the potential for constant harassment posed by telemarketers and

“automatic telephone dialing systems”— commonly called “robodialers.”

14.     The TCPA was enacted to this end. Among other abusive actions, the TCPA

prohibits anyone from calling a cell phone using a robodialer, an automated voice, or a

pre-recorded message.

15.     Despite the protections afforded by the TCPA, industry practices remain relatively

unchanged. Robodialing continues to increase dramatically year-over-year, and

robodialing is estimated to now comprise half of all cell phone calls in the United States.

See Brian Fung, “Report: Americans got 26.3 billion robocalls last year, up 46 percent

from 2017.” Wall Street Journal, January 29, 2019.

                                          FACTS

16.     SunTrust routinely called Michaud on his cell phone attempting to collect on an

account that Plaintiff had gone into default.

17.     SunTrust placed these calls to Michaud using a robodialer, an artificial voice, or

both.

18.     When answering these robodialed calls, Michaud immediately heard either a

recorded, automated voice or a long pause of dead air. This pause indicates SunTrust’s

robodialer calling Michaud, and then connecting to a live operator at SunTrust within a

few seconds of answering.

19.     These factors, paired with the frequency of the calls, strongly suggest that

SunTrust was calling Michaud’s cell phone using a robodialer.


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20.      SunTrust did not have Michaud’s consent to use these electronic means to call his

cell phone.

21.      Michaud also explicitly revoked any consent to be called on his cell phone by a

letter that was sent to SunTrust on November 6, 2020.

22.      Despite this explicit revocation, SunTrust continued to robodial Michaud’s cell

phone.

23.      Following his revocation, SunTrust placed robodialed collection calls to Michaud

on at least (but not limited to) 186 subsequent occasions.

24.      SunTrust disregarded Michaud’s explicit revocation of consent and willfully

continued to contact Michaud with impunity using a prohibited automatic telephone

dialing system.

                                       JURY DEMAND

25.      Plaintiff hereby demands a trial by jury on all issues so triable.

                                    CAUSES OF ACTION

              COUNT I: TELEPHONE CONSUMER PROTECTION ACT

26.      Michaud incorporates all other allegations as if set forth herein in full.

27.      The TCPA bans using robodialers and artificial voices to call cell phones absent

the consumer’s explicit consent:

         It shall be unlawful for any person within the United States . . . to make any call
         (other than a call made for emergency purposes or made with the prior express
         consent of the called party) using any automatic telephone dialing system or an
         artificial or prerecorded voice . . . to any telephone number assigned to a paging
         service, cellular telephone service, specialized mobile radio service, or other radio


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       common carrier service, or any service for which the called party is charged for
       the call . . . .” 47 U.S.C. § 227(b)(1).

28.    SunTrust violated 47 U.S.C. § 227(b)(1) by knowingly calling Michaud at least

165 times on his cell phone using an automatic dialing system without Michaud’s

consent.

29.    SunTrust also ignored Michaud’s explicit revocation of consent.

30.    SunTrust thus willfully and knowingly violated § 227(b)(1).

31.    Michaud was stressed and harassed by the frequency of SunTrust’s calls to his cell

phone, and by his inability to stop these calls, as is his right by statute.

32.    The TCPA provides the following remedy for its violation:

       “A person or entity may, if otherwise permitted by the law or rules of court of a
       State, bring in an appropriate court of that State (A) an action based on a violation
       of this subsection . . . to enjoin such violation, (B) an action to recover for actual
       monetary loss from such a violation, or to receive $500 in damages for each such
       violation, whichever is greater, or (C) both such actions. If the court finds that the
       defendant willfully or knowingly violated this subsection or the regulations
       prescribed under this subsection, the court may, in its discretion, increase the
       amount of the award to an amount equal to not more than 3 times the amount
       available under subparagraph (B) of this paragraph.” 47 U.S.C. § 227(b)(3).

33.    Michaud is entitled to actual damages in an amount to be determined at trial or

statutory damages of $1,500 per each of SunTrust’s telephone calls (approx. 186 calls)

violating the TCPA, whichever is greater, under 47 U.S.C. § 227(b)(3).

                          COUNT II: INVASION OF PRIVACY

34.    Michaud incorporates all other allegations as if set forth herein in full.

35.    SunTrust intentionally intruded upon Michaud’s solitude, seclusion, and private

concerns and affairs throughout its collection mission whereby it placed approximately



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186 telephone calls to Michaud’s telephone despite receiving his explicit instruction to

cease all calls.

36.    SunTrust’s intrusion was substantial, highly offensive to Michaud, and would be

highly offensive and objectionable to any reasonable person in Michaud’s position.

37.    Michaud had a legitimate expectation of privacy in his solitude, seclusion, and

private concerns and affairs.

38.    As a result of SunTrust’s intrusion, Michaud has suffered emotional distress, out-

of-pocket loss, and is entitled to an award of actual damages in an amount to be

determined at trial.

                                 RELIEF REQUESTED

       Michaud requests an Order for the following relief:

       •       Judgment in favor of Michaud and against SunTrust for actual damages, or

       for statutory damages of $1,500 per telephone calls violating the TCPA,

       whichever is greater. 47 U.S.C. § 227(b)(3).

       •       Interest accruing from commencement of this action at 4% for awards up to

       $50,000.00, or at 10% for awards over $50,000.00, under Minn. Stat. § 549.09.

       •       for an award of actual and punitive damages caused by SunTrust’s illegal

       intrusion upon Michaud’s seclusion.

       •       All other relief the Court deems just and equitable.


Dated this 19th day of May 2022.

                                           Respectfully Submitted,



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  VERIFICATION OF COMPLAINT AND CERTIFICATION BY PLAINTIFF

       I, Paul Michaud, declare under penalty of perjury, as provided for by the laws of

the United States, 28 U.S.C. § 1746, that the following statements are true and correct:

1. I am the Plaintiff in this civil proceeding.
2. I have read the above-entitled civil Complaint prepared by my attorneys and I believe
   that all the facts contained in it are true, to the best of my knowledge, information, and
   belief, formed after reasonable inquiry.
3. I believe that this civil Complaint is well grounded in fact and warranted by existing law
   or by a good faith argument for the extension, modification, or reversal of existing law.
4. I believe that this civil Complaint is not interposed for any improper purpose, such as to
   harass any Defendant(s), cause unnecessary delay to any Defendant(s), or create a
   needless increase in the cost of litigation to any Defendant(s), named in the Complaint.
5. I have filed this civil Complaint in good faith and solely for the purposes set forth in it.

Dated this 19th day of May 2022.

                                           s/Paul Michaud
                                                  Paul Michaud




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